Case 12-27642       Doc 23 Filed 09/28/12 Entered 09/28/12 10:41:59       Desc - Order
                        Confirming Chapter 13 Plan Page 1 of 4




Dated: September 28, 2012
The following is SO ORDERED:


                                               ________________________________________
                                                           David S. Kennedy
                                               UNITED STATES CHIEF BANKRUPTCY JUDGE


____________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE




In Re:                                                      Chapter 13
DONAL MARTIN MCDONAGH & MICHELE RAWLS MCDONAGH

Debtor(s)                                                    Case No. 12-27642-K
SSN XXX-XX-4108        SSN XXX-XX-1120

                               Order Confirming Plan



   It appearing to the Court that the debtor (s) has filed a plan which has
been sent to the scheduled creditors; that at the confirmation hearing it
appeared to the Court from statements of the Chapter 13 Trustee, and the
entire record herein that the plan as finalized complies with 11 U.S.C.A.
§1325(a) and other applicable provisions of Bankruptcy Code; and that the plan
should be confirmed;
   IT IS THEREFORE, ORDERED BY THE COURT:

1. That the debtor(s)' plan, which is attached hereto, is confirmed;

2. That the debtor pay into the plan as follows:

Debtor One Direct      DONAL MARTIN MCDONAGH              $1,550.00 MONTHLY
If this is different from the originally proposed plan, then the Trustee is
ordered to enter a separate order changing payment. Furthermore, the
debtor(s)' future earnings shall remain under the exclusive control of this
Court. In the event of dismissal, or conversion, funds held by the Trustee
shall be paid to creditors unless otherwise ordered by the court.

3. All property shall remain property of the Chapter 13 estate under §§541(a)
and 1306(a) and shall revest in the debtor(s) only upon discharge pursuant to
§1328(a), dismissal of the case, or specific order of the Court.          The
debtor(s) shall remain in possession of and in control of all property of the
Case 12-27642   Doc 23 Filed 09/28/12 Entered 09/28/12 10:41:59   Desc - Order
                    Confirming Chapter 13 Plan Page 2 of 4
estate not transferred to the Trustee, and shall be responsible for the
protection and preservation of all such property, pending further orders of
the Court.

4. An attorney fee is allowed in the amount of $3,000.00.   The attorney has
receieved $500.00 to be retained.

5.   Any real estate tax claimants shall be treated as fully secured if the
plan proposes to treat them as secured debts. If the debtor (s) surrender(s)
any real property during the pendency of this case, the real property will no
longer be property of the estate and the automatic stay shall terminate
regarding interests of affected real property taxing authorities.


6.   The balances of any student loans shall survive discharge if the plan
indicates same.




CC: George W. Stevenson         /s/ George W. Stevenson
FB                              Chapter 13 Trustee
    JAMES D GENTRY ATTY
    5100 POPLAR AVENUE
    SUITE 2008
    MEMPHIS, TN 38137
Case 12-27642            Doc 23 Filed 09/28/12 Entered 09/28/12 10:41:59                       Desc - Order
                             Confirming Chapter 13 Plan Page 3 of 4
                     CHAPTER 13 PLAN (INDIVIDUAL ADJUSTMENT OF DEBTS)
DEBTOR(S)             DONAL MARTIN MCDONAGH                                             SSN XXX-XX-4108
                     :MICHELE RAWLS MCDONAGH                                            SSN XXX-XX-1120
BK NUMBER             12-27642-K
                     :2416 SANDERS RIDGE
                      GERMANTOWN, TN         38138-6144

PLAN PAYMENT         :(DEBTOR 1)          $1,550.00       MONTHLY                         - Direct Pay

METHOD OF PYMT        DIRECT PAY - First payment due by August 19, 2012.

EMPLOYER(S)          :    DONAL MARTIN MCDONAGH
                          2416 SANDERS RIDGE
                          GERMANTOWN, TN 38138-6144

ADMINISTRATIVE        Pay filing fee, Trustee fee, and debtor's attorney fee

                                                                                                   MONTHLY
                                                                                                   PLAN PYMT

AUTO INSURANCE:
   AUTO INSURANCE NOT INCLUDED

HOME MORTGAGE: If no arrearage, ongoing payments deleted unless provided for:

  TRUST ONE BANK                              ongoing pmt. begin                                                   $0.00
      Approx. arrearage                       $0.00    Interest                   0.00%                            $0.00
  [Paid Outside Plan]
  TRUST ONE BANK                              ongoing pmt. begin                                                   $0.00
      Approx. arrearage                       $0.00    Interest                   0.00%                            $0.00
  [Paid Outside Plan]
  TRUST ONE BANK                              ongoing pmt. begin                                                   $0.00
      Approx. arrearage                       $0.00    Interest                   0.00%                            $0.00
  [Paid Outside Plan]

SECURED CREDITORS:                                                        VALUE       INT RATE            MONTHLY
[retain lien 11 U.S.C.                                                                                    PLAN PYMT
 JPMORGAN CHASE AUTOMOTIVE                                           $9,358.53              5.00%            $250.00

REAL ESTATE TAXES

  SHELBY COUNTY TRUSTEE                                              $4,325.60             12.00%             $100.00
  SHELBY COUNTY TRUSTEE                                             $30,198.76             12.00%             $700.00

UNSECURED CREDITORS: Absent a specific court order otherwise, all claims, other than those specifically
provided for above, shall be paid as general unsecured debts . General unsecured creditors will receive 100.00%.


    BECKET & LEE LLP                               $32,266.06
    BAPTIST MEMORIAL HEALTHCARE                       $100.00
    CAPITAL ONE BK DEPARTMENT                       $5,064.79
    DISCOVER FINANCIAL SERVICES                     $6,052.13
    DISCOVER PERSONAL LOANS                        $14,333.95
    DISCOVER FINANCIAL SERVICES                    $14,833.64
    ELAN FINANCIAL SERVICES                        $12,127.10
    FIRST TENNESSEE BANK                           $11,673.72
    FIRST TENNESSEE BANK                           $46,202.09
    FIRST TENNESSEE BANK                            $3,127.19
    FIRST TENNESSEE BANK                            $4,452.34
Case 12-27642   Doc 23 Filed 09/28/12 Entered 09/28/12 10:41:59   Desc - Order
                    Confirming Chapter 13 Plan Page 4 of 4
   FOX MEADOWS CLEANERS                $977.00
   NCO FINANCIAL SYSTEMS INC         $3,545.96
   WELLS FARGO BANK NA              $25,987.40
   WELLS FARGO BANK NA              $25,304.41
   WELLS FARGO BANK NA              $28,477.00
   JPMORGAN CHASE AUTOMOTIVE           $284.18

TERMINATION: Plan shall terminate upon payment of the above, approximately   60
months.
